Case 1:05-cv-01031-.]DT-STA Document 11 Filed 08/12/05 Page 1 of 2 Page|D 8

/~`, k
0 “'J"
54 "\
lN THE UNITED STATES DISTRICT COURT U@/
FOR THE WESTERN DISTRICT OF TENNESSEE a g p O-Q

EASTERN DIVISlON €g§?k-/

MCI WORLDCOM NETWORK
SERVICES, INC.,

Plaintiff,
NO. 05-1031 T/An

V.

ROBERT EDWARD BOND, et al.,

VWV\_/\_/\-/V\_¢`\_V\_¢

Defendants.

 

ORDER GRANTING MOTION TO WITHDRAW APPLICATION
FOR WRI']` OF EXECUTION AND TO SUBSTITUTE AMENDED
APPLICATION FOR WRI'I` OF EXECUTION

 

Before the Court is Plaintiff’ S Motion to Withdraw Application for Writ of Execution,
and to Substitute Amended Application for Writ of Execution filed on July 21, 2005. For good
cause Shown, the Motion is GRANTED. The Clerk is ordered to Strike Plaintifi`$ original

App}ication for Writ of Execution and file the Amended Application.

IT rs SO 0R1)ERE1). @M
f_,__
/g //7!/1/149~4 j

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: £glw;{’ /o-l'_ QOBJ/

Thls document entered on the docket sheet in compliance
with nule se and,'or,re (a) FncP on `

\\

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 11 in
case 1:05-CV-01031 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listcd.

 

 

Joseph G. DeGaetano

BOULT CUMM[NGS CONNERS & BERRY
1600 Division Street

Ste. 700

Nashville, TN 37203--002

Linda S. Taylor

LAW OFFICES OF LINDA S. TAYLOR
206 E. Main St.

Ste. 202

Jackson7 TN 38302

George H. Nolan

BOULT CUMM[NGS CONNERS & BERRY
1600 Division St.

Ste. 700

Nashville, TN 37203

Honorable J ames Todd
US DISTRICT COURT

